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CERTIFICATE OF SERVICE

I, Drew G. Sloan, do hereby certify that on October 29, 2010, a copy of the foregoing
Twentieth Monthly Application of Ashurst LLP, European Counsel for the Official Committee
of Unsecured Creditors, for Interim Allowance of Compensation and for Reimbursement of
Expenses for Services Rendered During the Period from September 1, 2010 through
September 30, 2010 was served on the parties on the attached list and in the manner indicated

thereon.

aS —

Drew “pes (No: 5069)

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NORTEL NETWORKS INC.
CASE NO. 09-10138 GKG)
SERVICE LIST

VIA HAND DELIVERY

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